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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

INTERNATIONAL WATCHMAN INC.,                                 CIVIL ACTION NO. 1:23-CV-2396

                              Plaintiff,

         vs.                                                 JUDGE DAVID A. RUIZ

REEDS JEWELERS, INC., ET AL.,                                MAGISTRATE JENNIFER D.
                                                             ARMSTRONG
                              Defendants.


DECLARATION OF WILLIAM D. REINGER IN SUPPORT OF DEFENDANT REEDS
               JEWELERS, INC.’S MOTION TO DISMISS

I, William D. Reinger, declare as follows:

         1.    I am currently the Chief Finance Officer at Reeds Jewelers, Inc. (“Reeds”). I

have been employed by Reeds for more than 20 years.               I currently reside and work in

Wilmington, North Carolina.

         2.    I submit this Declaration in support of Reeds’ Motion to Dismiss. The facts

stated herein are true based on my own personal knowledge or knowledge obtained through my

employment at Reeds, conversations with Reeds colleagues, and my review of records

maintained in the ordinary course of business by Reeds. If called upon to testify, I could and

would testify competently thereto.

         3.    Reeds in incorporated under the laws of North Carolina with its headquarters and

principal place of business located at 2525 S. Seventeenth Street, Wilmington, North Carolina

28401.

         4.    Reeds does not have offices, facilities, operations, or retail stores in Ohio.

         5.    Reeds does not have any agents, officers, or directors in Ohio.




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        6.      Reeds has one remote employee who chooses to live in Ohio for personal reasons.

That employee has no responsibility for the products at issue in this case.

        7.      Reeds does not have any real property, inventory, or bank accounts located in

Ohio.

        8.      Reeds has retail locations in only the following states: Alabama, Florida, Georgia,

Kentucky, Maryland, Mississippi, North Carolina, Pennsylvania, South Carolina, Tennessee,

Texas, Virginia, and West Virginia.

        9.      The majority of Reeds’ business is conducted through its brick and mortar retail

locations, of which there are none in Ohio.

        10.     Reeds also conducts business through its website, www.reeds.com, which is

generally available to people with internet access. Reeds does not conduct business from any

website other than its own, www.reeds.com.

        11.     Reeds’ website is controlled from North Carolina by Reeds’ employees there.

        12.     Reeds’ website was not created and is not operated with the purposeful intent of

specifically reaching internet users in Ohio.

        13.     Reeds does not target its advertising specifically at Ohio. Reeds uses Google and

other online advertising platforms which, on information and belief, may take into account a

user’s location, but Reeds has no control over that and does not do anything to target Ohio

residents in its advertising.

        14.     Among many other products, Reeds sells watches and watch accessories, like

watch straps. Reeds sells NATO-style watches and watch straps manufactured by multiple

companies, including Hamilton, Bulova, and Omega. (“NATO-style Products”).




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       15.     Between 2020-2023, Reeds had only one sale of NATO-style Products shipped to

Ohio, generating $296.25 in revenue. Ohio accounts for less than 0.2% of Reeds’ total sales of

NATO-style Products for 2020-2023. I have no reason to believe that the sales data for Reeds’

sales of NATO-style products before 2020 is dissimilar to that for 2020-2023.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on March 11, 2024 in Wilmington, North Carolina.



                                                           /s/ William D. Reinger

                                                           William D. Reinger




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